     Case 3:15-cr-00115-DJN Document 59 Filed 09/15/15 Page 1 of 1 PageID# 127



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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                   SEP I 52015
                                  RICHMOND DIVISION
                                                                               CLERK. U.S. DiS lRICTCrmRT
                                                                                     Ricur/own va
UNITED STATES OF AMERICA


V.                                                   CRIMINAL CASE NO. 3:15-CR-OOl 15-003


MELEKE DAQUAN OSBORNE,

                       Defendant.



                                              ORDER


         This matter is before the Court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance of the Defendant's plea of guilty

to the specified charge in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding

conducted by the Magistrate Judge with the consent of the Defendant and counsel. It appearing

that the Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant

was given notice of the right to file specific objections to the report and recommendation that has

been submitted as a result of the proceeding; and it further appearing that no objection has been

asserted within the prescribed time period, it is hereby

         ORDERED that the report and recommendation of the Magistrate Judge is ADOPTED

and the Defendant is found guilty of Count ONE (1) of the Criminal Information.




                                                                                   Judge

Date:
Richmond, Virginia
